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      Case: 19-1425                 Document: 00713588048                            Monday, 27 April,
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                                                                                           Clerk, U.S. District Court, ILCD

      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                        Office of the Clerk
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             Chicago, Illinois 60604                                                    www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 March 25, 2020


To:            Shig Yasunaga
               UNITED STATES DISTRICT COURT
               Central District of Illinois
               Davenport , IA 52801-0000


                                         ISRAEL RUIZ,
                                          Plaintiff - Appellant

 No. 19-1425                             v.

                                         CATALINO BAUTISTA, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 4:18-cv-04155-CSB
 Central District of Illinois
 District Judge Colin S. Bruce
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                        No record to be returned




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.
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      Case: 19-1425       Document: 00713588048                 Filed: 03/25/2020    Pages: 2   (8 of 8)



Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                               Received by:

     4/27/2020                                        s/K. England
 _                          ___                      _                                 ____




 form name: c7_Mandate(form ID: 135)
                       4:18-cv-04155-CSB # 91 Page 3 of 8
   Case: 19-1425    Document: 00713588046            Filed: 03/25/2020          Pages: 5       (1 of 8)
                       NONPRECEDENTIAL DISPOSITION
               To be cited only in accordance with Fed. R. App. P. 32.1



                United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                              Submitted February 24, 2020*
                               Decided February 28, 2020

                                          Before

                         DIANE P. WOOD, Chief Judge

                         WILLIAM J. BAUER, Circuit Judge

                         MICHAEL B. BRENNAN, Circuit Judge

No. 19-1425

ISRAEL RUIZ,                                     Appeal from the United States District
     Plaintiff-Appellant,                        Court for the Central District of Illinois.

       v.                                        No. 18-cv-4155

CATALINO BAUTISTA, et al.,                       Colin S. Bruce,
    Defendants-Appellees.                        Judge.

                                        ORDER

       Shortly after filing a prisoner’s rights complaint, Israel Ruiz applied for leave to
proceed in forma pauperis (IFP). The district court concluded that Ruiz intentionally
lied about his finances on the application and dismissed the suit with prejudice under
28 U.S.C. § 1915(e)(2)(A). Because the court’s decision rested on flawed factual findings,
we reverse this part of the judgment and remand for further proceedings.




       * We have agreed to decide this case without oral argument because the briefs
and record adequately present the facts and legal arguments, and oral argument would
not significantly aid the court. FED. R. APP. P. 34(a)(2)(C).
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No. 19-1425                                                                         Page 2

       Ruiz, an Illinois inmate, sued several prison officials for the medical care that he
received in prison. On his application to proceed IFP, Ruiz explained that he never
received a printed form from the district court, so he copied one from another inmate,
writing out the questions by hand and then responding accordingly. In response to a
question about payments received from the prison, Ruiz disclosed that he received $10
a month. Another question asked if “you or anyone else living at the same residen[ce]
receive[d] more than $200 in the past twelve months” from any of seven listed sources
of income. Next to the categories for “gifts” and “any other sources,” Ruiz checked
“no.” He also declared under penalty of perjury that the information on the form was
“true and correct” and that he understood that false allegations of poverty would result
in dismissal of his suit. He attached a six-month transaction history for his inmate
trust-fund account, showing a balance of $191.53. The statement also showed that he
had received a total of $750 from three people in the six months before filing suit.

       The district court granted Ruiz’s IFP application. The court assessed an initial
partial filing fee and then directed the prison to submit partial payments from Ruiz’s
inmate account until the $350 filing fee was paid in full.

        Soon after, Ruiz moved the court to recruit counsel for him. See 28 U.S.C.
§ 1915(e)(1). Stating that he had only an eighth-grade education, Ruiz asserted that a
fellow inmate had prepared all his court filings and that his case would require
testimony from a medical expert. Ruiz added that he was experiencing difficulties
accessing the prison law library. The district court denied the motion, reasoning that
Ruiz “appears to be literate” and had filed “cogent pleadings.” Further, the court stated,
Ruiz had personal knowledge of the relevant facts, and expert testimony was not clearly
necessary. Ruiz moved the court to reconsider its decision, again emphasizing that all of
his filings—including his complaint, IFP application, and motion for counsel—had been
prepared by a fellow inmate. The court denied the motion to reconsider.

       About two months later, several defendants moved to dismiss the suit under
28 U.S.C. § 1915(e)(2)(A), arguing that Ruiz had failed to disclose to the court a “true
and accurate accounting of his financial situation.” The defendants attached a statement
for Ruiz’s inmate account, showing that in the preceding twelve months he had received
$2,320 from four people. They also attached Ruiz’s commissary receipts, which showed
that he spent more than $1,600 at commissary in the past year.

       Ruiz responded that any errors in his IFP application stemmed from “mere
oversight” and did not warrant dismissal of his suit. Marking “no” next to the query
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about “gifts” was not an attempt to “hide assets,” he asserted, because he believed that
the money received from his supporters over the past six months was “covered” by the
account statement he submitted to the court. He further explained that he had “no way”
to disclose funds received earlier because inmates are entitled to statements spanning
only six months, not a year, and he “[could] not remember how much [money] was sent
[to him] and when or by who.”

       Ruiz also sought leave to amend his IFP application to “correct the
oversight/defect that the defendants point[ed] out.” He attached an amended
application (also handwritten), which omitted the question about other income sources.
At the bottom of the form, Ruiz wrote that “[d]ue to the support [he] receives monthly,
yearly, [he] can pay the filing fee in payments,” but that he “does not have the money to
… pay it all at once.”

       The district court dismissed Ruiz’s complaint with prejudice, finding that he had
“committed a fraud upon the Court” by misrepresenting his financial condition. The
court determined that Ruiz was “not honest” on the IFP form, and that his allegation of
good faith was disproved by three facts. First, in choosing to handwrite his IFP
application rather than use the district’s pre-printed form, Ruiz “arbitrarily placed a
$200.00 cap or limit on the income or gifts that he received.” Because the district’s
pre-printed form contained no such qualification, the court construed this insertion as
“a means of hiding” the gifts that Ruiz had received in the year before filing suit.
Second, the court “simply [did] not believe” Ruiz’s claim that he “forgot” about gifts
totaling more than $2,200. Third, his purchase of commissary items totaling more than
$1,600 in the year preceding his application reflected his awareness that he had funds
coming in “from somewhere or from someone,” yet he did not disclose this to the court.
In the court’s view, Ruiz “drained” his inmate account at the commissary before filing
suit. The court also denied Ruiz leave to file an amended IFP application, stating that he
“cannot claim a mea culpa and simply amend his petition after making false statements.”

        On appeal, Ruiz primarily argues that the district court erred by dismissing his
suit “without any proof” that he actually intended to defraud the court. Under
§ 1915(e)(2)(A), a court “shall dismiss” a case at any time if it determines that a
plaintiff’s “allegation of poverty is untrue.” In this context, “untrue” means “something
like ‘dishonest’ or ‘false,’ rather than simply ‘inaccurate,’” and does not “sweep in an
inaccuracy that was the product of confusion or misunderstanding.” Robertson v. French,
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949 F.3d 347, 351 (7th Cir. 2020). We review the district court’s factual findings for clear
error, and its dismissal of Ruiz’s suit with prejudice for abuse of discretion. Thomas v.
Gen. Motors Acceptance Corp., 288 F.3d 305, 307–08 (7th Cir. 2002).

        The record does not support a finding that Ruiz’s allegation of poverty was
fraudulent or “untrue” within the meaning of § 1915(e)(2)(A). In concluding otherwise,
the district court relied in part on Ruiz’s insertion of the $200 qualification for disclosing
certain income sources. Although the Central District of Illinois’s printed IFP form
contains no such threshold (as the district court noted), its inclusion on Ruiz’s
handwritten form does not necessarily show dishonesty or fraud. Ruiz explained that
he did not receive the Central District’s form (a fact that is undisputed), so he
hand-copied one he obtained from another inmate. The record does not reflect which
district’s form he copied, but we note that the IFP form recently used in the Northern
District of Illinois included an identical $200 qualification. (Effective this month, the
Northern District revised its form to remove this limit.) We thus disagree that the
inclusion of this language on Ruiz’s form necessarily shows an intent to deceive the
court.

        The district court also mischaracterized Ruiz’s explanation for not disclosing
income that extended back a full year. Ruiz did not state that he “forgot” about
receiving approximately $2,200 (which, we agree, would be implausible), but that,
without a more complete account statement, he could not recall how much money each
supporter had sent him and when. The IFP statute requires that an inmate submit a
funds statement only “for the 6-month period immediately preceding the filing of the
complaint,” 28 U.S.C. § 1915(b)(1)(B), which Ruiz did. And although the IFP application
requires a twelve-month accounting, Ruiz explained that he was unable to obtain a full
year’s statement from the prison. Because the record does not support a finding that
Ruiz intentionally lied on his IFP application, the district court’s finding to the contrary
is clearly erroneous.

         Before dismissing a suit with prejudice, “district courts must ensure that a
prisoner’s negligent or even reckless mistake is not improperly characterized as an
intentional and fraudulent act.” Greyer v. Illinois Dep’t of Corr., 933 F.3d 871, 881
(7th Cir. 2019). The district court did not do so here. In our view, Ruiz tried (however
ineffectively) to disclose, not hide, his assets; along with his IFP form, he included his
inmate trust-fund account statement reflecting receipt of $750 from outside sources in
the six months before he filed suit. He should have disclosed these amounts on the form
itself, but his explanation for not doing so (i.e., he thought the attached statement was
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adequate) was not willfully deceptive. See Hodges v. Ghosh, 592 F. App’x 522, 522–23
(7th Cir. 2015). Indeed, his attachment of an account statement proved sufficient in the
past; in a prior case, a judge on the Northern District of Illinois granted Ruiz IFP status
based on a materially identical application (in which he did not disclose certain funds
on the form itself, but did so in an attachment). See Ruiz v. Williams, No. 14 C 2750,
Docs. 3 & 6 (N.D. Ill. 2014). From the record before us, we cannot conclude that the
errors in Ruiz’s application were the kind of intentional and fraudulent omissions that
might justify dismissal of his suit with prejudice—a “draconian” sanction reserved for
“the most extreme situations.” Greyer, 933 F.3d at 877.

        Ruiz also challenges the denial of his motion for recruitment of counsel—a ruling
that we review for an abuse of discretion and will reverse only if prejudice is shown.
Pruitt v. Mote, 503 F.3d 647, 659 (7th Cir. 2007) (en banc). Here, the district court erred in
its assessment of Ruiz’s competence by failing to consider the significance of another
inmate’s assistance. See Dewitt v. Corizon, Inc., 760 F.3d 654, 658 (7th Cir. 2014) (district
court should assess inmate’s “personal ability to litigate the case, versus the ability of
the ‘jailhouse lawyer’ who … was helping him”). But Ruiz cannot show “a reasonable
likelihood that the presence of counsel would have made a difference in the outcome of
the litigation.” Pruitt, 503 F.3d at 659. He argues that counsel would have “corrected
[the] error” in his IFP application, thus “avoid[ing] dismissal.” But IFP status is a
prerequisite for obtaining court-recruited counsel, see 28 U.S.C. § 1915(e)(1), so counsel
could not have helped in this regard.

       We have considered Ruiz’s other arguments, and none has merit.

       Accordingly, we REVERSE the judgment of the district court in part, AFFIRM in
part, and REMAND this case for further proceedings consistent with this order.
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     Case: 19-1425                  Document: 00713588047               Filed: 03/25/2020        Pages: 1   (6 of 8)



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



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             Chicago, Illinois 60604                                               www.ca7.uscourts.gov




                                                     FINAL JUDGMENT
 March 3, 2020


                                              DIANE P. WOOD, Chief Circuit Judge
    Before:
                                              WILLIAM J. BAUER, Circuit Judge

                                              MICHAEL B. BRENNAN, Circuit Judge


                                         ISRAEL RUIZ,
                                         Plaintiff - Appellant

 No. 19-1425                             v.

                                         CATALINO BAUTISTA, et al.,
                                         Defendants - Appellees

 Originating Case Information:

 District Court No: 4:18-cv-04155-CSB
 Central District of Illinois
 District Judge Colin S. Bruce


We REVERSE the judgment of the district court in part, AFFIRM in part, and REMAND this
case for further proceedings consistent with this order.

The above is in accordance with the decision of this court entered on February 28, 2020. Each
party should bear their own costs.




 form name: c7_FinalJudgment(form ID: 132)
